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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA




UNITED STATES OF AMERICA,    )
                             )
                  Plaintiff, )                        4:04CR3081
                             )                 JUDGMENT OF ACQUITTAL
     vs.                     )
                             )
BRIAN PARKER,                )
                             )
                  Defendant. )


     The jury having found the defendant Brian Parker not guilty,

     IT IS ORDERED that this case, including all counts, is
dismissed with prejudice as against Brian Parker.


     DATED October 28, 2005.



                               BY THE COURT


                                s/ Richard G. Kopf
                              ___________________________________
                               United States District Judge
